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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK


 In re:
                                                                          Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF
 ROCKVILLE CENTRE, NEW YORK,1                                             Case No. 1:23-cv-5751-LGS

 Debtor.                                                                  Bankr. Case No. 20-12345 (MG)




                       MEMORANDUM OF LAW
IN OPPOSITION TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
MOTION FOR RECONSIDERATION OF ORDER WITHDRAWING REFERENCE OF
                PETITION TO THE BANKRUPTCY COURT

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           The Debtor in the chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last
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NY 11571-9023.
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                               PRELIMINARY STATEMENT

       The question presented by the Committee’s motion is whether the Court should reconsider

its withdrawal of the reference of Petitioners’ § 157(b)(5) petition (the “157(b)(5) Motion”) from

the Bankruptcy Court. The Committee has neither demonstrated that cause exists for this Court to

reconsider its prior order, nor that a referral is appropriate under the circumstances.        The

Committee does not raise any serious claim of manifest injustice, nor does it highlight any

consideration that could reasonably be expected to alter the Court’s conclusion that the District

Court—and not the Bankruptcy Court—must resolve the 157(b)(5) Motion.                 Instead, the

Committee argues that it would be more efficient for the Bankruptcy Court to give initial

consideration to the 157(b)(5) Motion, that the Bankruptcy Court possesses special expertise on

these topics, and that Petitioners’ request to consolidate the cases in the federal court where the

DRVC’s bankruptcy case is pending is the product of some supposed improper “motivation.”

       These arguments are not persuasive. It is not efficient to create a duplicative layer of

Bankruptcy Court review over a decision that all agree has been expressly and exclusively

delegated by Congress to the District Court. Nor does § 157(b)(5) present any “complex issues of

bankruptcy law” on which the Bankruptcy Court has greater expertise. To the contrary, § 157(b)(5)

is a straightforward venue provision, and, because Congress has given district courts exclusive

authority to decide § 157(b)(5) motions, the Bankruptcy Court has no special expertise over it.

And finally, the Committee’s character attacks against Petitioners are unfounded, unnecessary, and

completely unjustified. If there has been any delay in prosecuting the State Court Actions, it is

because the parties, including the Committee on behalf of survivors, agreed that the cases should

be stayed for two-and-a-half years to enhance the prospects of a successful reorganization. That

the DRVC and related parties are now, for the first time, seeking to have those cases consolidated



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and heard in the forum designated by Congress should not be surprising and does not suggest any

improper motivation.

                         FACTUAL AND PROCEDURAL HISTORY

       The Roman Catholic Diocese of Rockville Centre (the “DRVC” or the “Debtor”) and

related parties are defendants in hundreds of lawsuits alleging sexual abuse and other torts. These

lawsuits, filed in tandem with proofs of claim against the Debtor, all allege similar claims and all

seek recovery for the same harms alleged against the Debtor and the related parties. Given the

flood of claims and the limited pool of assets available to satisfy them, the DRVC filed for

Bankruptcy in 2020 to centralize the claims against it and to ensure it could equitably compensate

creditors. Between October 2020 and June 2023, the state court cases were stayed pursuant to a

consensual order of the Bankruptcy Court with the agreement of the Debtor and the Committee.

See The Roman Catholic Diocese of Rockville Centre v. ARK320 Doe, Dkt. No. 59 (the “PI Order”).

       In January 2023, however, the Committee decided that it no longer supported a stay of the

State Court Actions, and it withdrew its consent to the PI Order. The Debtor therefore sought a

contested order maintaining the preliminary injunction for an additional period of time. On June

1, 2023, the Bankruptcy Court denied the Debtor’s request and authorized the cases to move

forward. See In re Roman Catholic Diocese of Rockville Centre, 651 B.R. 622 (Bankr. S.D.N.Y.

2023). It did not, however, address the appropriate forum for those actions, even though the DRVC

disclosed its intention to seek to consolidate the cases in the Southern District under § 157(b)(5) if

the Court ordered the actions to proceed. Id. at 667.

       Pursuant to the Bankruptcy Court’s order, the consensual preliminary injunction expired

on June 16, 2023. Less than three weeks later—on July 5, 2023—the DRVC and the related party

defendants filed the instant 157(b)(5) Motion, seeking to fix venue in this District in accordance



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with Congress’s strong policy in favor of adjudicating personal injury cases related to a bankruptcy

in the district where the bankruptcy is pending. See In re Pan Am Corp., 950 F.2d 839, 845 (2d

Cir. 1991); see Motion (DN 1-1). The next day, citing the Court’s standing order, the Clerk of

Court “transferred out” the case from this Court to the Bankruptcy Court. See Transfer Order

(DNs 6, 7). In response to the referral, Debtor’s counsel sent a letter addressed to Chief Judge

Swain in her capacity as a member of the Assignments Committee, noting that § 157(b)(5)

obligates the District Court to decide whether to centralize the bankruptcy-related cases, and

suggesting that the 157(b)(5) Motion should not have been referred. See Letter to Chief Judge

Swain (DN 9). After reading that letter, the Court agreed, rescinded the referral, and reasserted

jurisdiction over the case. See Court Order (DN 10).

       Meanwhile, the related party defendants removed substantially all of the cases to federal

court (mostly to the Eastern District) asserting “related to” jurisdiction under 28 U.S.C. § 1334(b).

This was necessary because the deadline for removal of the State Court Actions—which had been

extended by the PI Order—was set to expire shortly after the PI Order terminated. The related

parties thus faced a choice between removing the State Court Actions—consistent with their view

that Congress has mandated a federal forum for personal injury cases related to a bankruptcy—or

forever giving up their ability to seek removal. Faced with this decision and deadline, the related

parties removed the cases to make a transfer to this Court more easily and efficiently accomplished.

       The removals generated a flurry of activity including remand motions, which are under

active consideration. Some judges have stayed the cases pending resolution of this 157(b)(5)

Motion, while others have remanded the cases to state court. See infra at 7. The cases that have

been remanded to state court are speedily moving toward discovery. In the meantime, the Debtor

and Committee remain engaged in active mediation to seek a consensual comprehensive settlement.



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                                          ARGUMENT

       Reconsideration of a previous order by the Court is an “extraordinary remedy to be

employed sparingly in the interests of finality and conservation of scarce judicial resources.” In

re Health Mgmt. Sys. Inc. Sec. Litig., 113 F. Supp. 2d 613, 614 (S.D.N.Y. 2000) (quotation

omitted). Courts grant reconsideration only where “the movant … demonstrate[s] an intervening

change of controlling law, the availability of new evidence, or the need to correct a clear error or

prevent manifest injustice.” Catskill Dev., L.L.C. v. Park Place Ent. Corp., 154 F. Supp. 2d 696,

701 (S.D.N.Y. 2001) (quotation omitted). As the Second Circuit has made clear, “[t]he standard

for granting such a motion is strict, and reconsideration will generally be denied unless the moving

party can point to controlling decisions or data that the court overlooked … that might reasonably

be expected to alter the conclusion reached by the court.” Shrader v. CSX Transp., Inc., 70 F.3d

255, 256–57 (2d Cir. 1995). For the reasons below, reconsideration is not appropriate here.

       A.      The Court Correctly Withdrew the Reference

       Reconsideration is not necessary, first of all, because the Court’s withdrawal of the

reference of the 157(b)(5) Motion was appropriate given that Congress delegated exclusive

authority to the “district court” to decide § 157(b)(5) motions. 28 U.S.C. § 157(b)(5).

       In arguing otherwise, the Committee mischaracterizes the DRVC’s July 7, 2023, letter and

the Court’s decision to withdraw the reference over the 157(b)(5) Motion. As noted above, that

letter was not a motion from the DRVC to withdraw the reference; it was a suggestion to the Chief

Judge, in her capacity as a member of the Court’s Assignments Committee, that the Court’s

standing order of reference was erroneously applied in this circumstance. It was the Court that,

sua sponte after considering the letter and input from the clerk of the Bankruptcy Court, decided

that the 157(b)(5) Motion must be resolved by this Court.

       The Court was well within its authority to do so: “[n]otwithstanding the automatic
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reference, a judge of the District Court, in his or her discretion, may sua sponte withdraw the

reference in a given case, for any of a wide variety of reasons.” Picard v. HSBC Bank PLC, 450

B.R. 406, 409 (S.D.N.Y. 2011).

       Section 157(b)(5) obligates this Court to decide the Motion. See Podkolzin v. Amboy Bus

Co., 402 B.R. 539, 543 (E.D.N.Y. 2009). The plain text of § 157(b)(5) provides that “the district

court shall order that personal injury tort … claims shall be tried in the district court.” 28 U.S.C.

§ 157(b)(5) (emphases added). And the Second Circuit has made clear that a “bankruptcy judge

does not have the authority to set the venue” under “[s]ection 157(b)(5).” In re U.S. Lines, Inc.,

216 F.3d 228, 234 (2d Cir. 2000); Podkolzin, 402 B.R. at 543 (same).

       In light of this, district courts typically decide § 157(b)(5) motions without input from a

bankruptcy court. See, e.g., In re Twin Lab’ys, 300 B.R. 836, 840–41 & n.1 (S.D.N.Y. 2003)

(deciding § 157(b)(5) motion in the first instance and out of an “excess of caution … withdraw[ing]

any … putative reference of [the § 157(b)(5) motion]” from “the Bankruptcy Court”); Hopkins v.

Plant Insulation Co., 342 B.R. 703, 707 (D. Del. 2006) (deciding the § 157(b)(5) motion without

input from bankruptcy court); In re Montreal Maine & Atl. Ry., Ltd., 2016 WL 706185 (D. Me.

Feb. 22, 2016) (same). And in fact, district courts often withdraw references of § 157(b)(5)

motions and decide the motions in the first instance. See In re Triad Grp., Inc., 2014 WL 580778,

at *1 (E.D. Wis. Feb. 14, 2014) (“[T]he Court … withdraw[s] the reference” as an “intermediate

step towards consolidating all pending personal injury claims.”); In re Saltire Indus., Inc., 2007

WL 1815450, at *2 (S.D.N.Y. June 22, 2007) (same); In re Ephedra Prods. Liab. Litig., 329 B.R.

1, 4 n.1 (S.D.N.Y. 2005) (same). Some courts have gone so far as to hold that “withdrawing the

reference of personal injury actions is mandatory under the language of § 157(b)(5).” McCorkle

v. Herold, 2018 WL 2470731, at *1 (W.D. Va. May 31, 2018); see In re 610 W. 142 Owners Corp.,



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1999 WL 294995, at *2 (S.D.N.Y. May 11, 1999) (same).

       Thus, there is no manifest injustice in the Court’s decision to hear and determine the

157(b)(5) Motion in the first instance, and no reason for the Court to reconsider that decision.

       B.      There Is No Need for the Bankruptcy Court to Issue a Report and
               Recommendation on a Matter Committed Solely to this Court’s Discretion

       The Committee agrees, as it must, that Congress has given this Court exclusive authority

with respect to a § 157(b)(5) motion. See Mot. at 2, 10. The Committee argues, however, that the

Court should ask the Bankruptcy Court to make a report and recommendation about how the Court

should exercise its authority. The Committee’s arguments are not persuasive, for several reasons.

       First, although the Committee’s principal argument is that referral to the Bankruptcy Court

“would promote the Court’s efficient adjudication of the Petition,” Mot. at 8, 10, it is difficult to

imagine a less efficient procedure than the Committee’s proposal. The Committee would bifurcate

resolution of the 157(b)(5) Motion into two duplicative phases: (1) a report-and-recommendation

phase in the Bankruptcy Court, including a full round of briefing, argument, and recommendation

by the Bankruptcy Court, followed by (2) an objection phrase in this Court, including a second

round of briefing, argument, and de novo consideration as to whether the Court should abstain

from fixing venue in this Court. Yet referrals are disfavored when, as here, they would amount to

“futile detour[s] requiring substantial duplication of judicial effort and needlessly burdening an

already overcrowded docket in the Bankruptcy Court.” Travelers Ins. Co. v. Goldberg, 135 B.R.

788, 792 (D. Md. 1992). Nor should the Bankruptcy Court be required to guess at the various

considerations that might guide this Court’s exercise of its discretion in determining whether to

accept jurisdiction as Congress provided, or to abstain in favor of the state courts.

       Second, efficient resolution of the 157(b)(5) Motion (one way or another) is particularly

important in this case given the varying procedural postures of the State Court Actions. Some


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federal judges have retained jurisdiction of the removed cases. See, e.g., RKNassau1 v. Our Holy

Redeemer Roman Catholic Church, 2:23-cv-04866-BMC (E.D.N.Y.) Order (DN 12) (noting

disagreement with another court’s decision to remand related cases). Others have stayed the

removed cases pending resolution of the 157(b)(5) Motion. See, e.g., Bargfrede v. St. Catherine

of Sienna Roman Catholic Church, 2:23-cv-04752-NRM (E.D.N.Y.) Order (DN 10) (staying case

pending resolution of the 157(b)(5) Motion). And still others have remanded the removed cases

to state court, where expedited discovery is beginning. See, e.g., R.M. v. St. Martha Roman

Catholic Church, 2:23-cv-04741-HG (E.D.N.Y.) Order (DN 13) (remanding 10 cases to state

court). As a result, while the § 157(b)(5) Motion remains pending, the cases will move at different

speeds in different fora, which will make coordination and efficient resolution more difficult.

        Third, there are no “complex issues of bankruptcy law” implicated by the 157(b)(5) Motion.

Section 157(b)(5) does not present issues of bankruptcy law at all. It is a venue provision in Title

28 of the United States Code (Judiciary and Judicial Procedure). And because Congress gave

district courts exclusive authority to resolve motions to fix venue under § 157(b)(5), Bankruptcy

Courts do not have any special competence to address the venue considerations that are committed

exclusively to district courts.

        Nor are the issues raised by the 157(b)(5) Motion legally “complex.” Mot. at 8–9. Section

157(b)(5) is phrased in “mandatory language.” In re Twin Lab’ys, Inc., 300 B.R. at 840–41. Its

“obvious purpose” is to “giv[e] particular priority to the centralization of bankruptcy-related

personal injury claims in a single forum.” Id. Indeed, the Second Circuit has instructed district

courts that “[t]ransfer should be the rule, abstention the exception.” Pan Am, 950 F.2d at 845.

This presumption means, contrary to the Committee’s arguments, that the typical multi-factor

abstention analysis is muted and “applied with caution, taking account the strong legislative



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presumption favoring transfer under § 157(b)(5).” In re Twin Lab’ys, Inc., 300 B.R. at 841.

Accordingly, in the “[§ 157(b)(5)] context, perhaps even more than elsewhere, federal courts have

a virtually unflagging obligation ... to exercise the jurisdiction given them.” Id. (quotation omitted).

And in any event, the abstention analysis is well within this Court’s expertise as it requires

consideration of the same factors implicated any time a bankruptcy-related litigant removes to

federal court under section 1334(b). See, e.g., In re WorldCom, Inc. Secs. Litig., 293 B.R. 308,

332 (S.D.N.Y. 2003) (listing factors for whether to abstain and remand under section 1334(c)(1));

Pan Am, 950 F.2d at 845 (permissive abstention factors apply to § 157(b)(5) analysis).

       Fourth, the state-court complaints themselves present straightforward issues of tort law in

which this Court, rather than the Bankruptcy Court, has expertise. Indeed, “thanks to diversity

jurisdiction” federal courts have a large “share of state-law personal injury cases.” In re Twin

Lab’ys, Inc., 300 B.R. at 841. And because the Bankruptcy Court is prohibited by § 157(b)(5)

from trying or entering final judgment on any personal-injury claims, this Court has far more

experience as to what will be required to successfully try the State Court Actions. See In re Roman

Catholic Diocese of Rockville Centre, 650 B.R. 765, 776–77 (Bankr. S.D.N.Y. 2023) (Glenn, J.)

(“[A] Bankruptcy Court cannot assess the … merits of a personal injury tort claim.”).

       Fifth, any familiarity the Bankruptcy Court has with the bankruptcy proceedings writ large

will not translate into special competence to address the 157(b)(5) Motion. The Committee points

to the Bankruptcy Court’s rulings on the PI motion and a motion to dismiss as evidence that the

Bankruptcy Court has unique insight into the contours of § 157(b)(5). See Mot. at 9. But the

substantive law governing those motions is not relevant to the factors the Court must consider in

deciding whether to grant the transfer petition. The preliminary injunction decision probed

whether section 362(a)(3) or section 105(a) mandated an injunction of the cases pending resolution



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of mediation. See Roman Catholic Diocese of Rockville Centre, 651 B.R. at 637–38. And the

motion to dismiss analysis asks, among other things, whether there is cause to dismiss the petition

given “substantial or continuing loss to or diminution of the estate.” 11 U.S.C. § 1112(b)(1),

(b)(4)(A). By contrast, § 157(b)(5) is a venue provision that asks whether the Court should transfer

a set of personal injury cases to the Southern District for final adjudication by the Southern District.

        C.      The Committee’s Attacks on Petitioners Are Unfounded

        Finally, although the Committee’s motion purports to seek a straightforward referral to the

Bankruptcy Court, its brief included a series of unfounded attacks on Petitioners’ “motivations” in

seeking to fix venue in this Court. Mot. at 2. These attacks are unjustified and inappropriate.

        The Committee, for example, repeatedly accuses Petitioners of attempting to delay

survivors’ ability to have their day in Court. See Mot. at 2, 10. But the reason the survivors’ cases

have not progressed is that the parties, including the Committee on behalf of the survivors, agreed

to stay the State Court Actions for two-and-a-half years (from October 2020 to January 2023).

This consensual preliminary injunction order was lifted on June 16, 2023—just over two months

ago—and Petitioners promptly sought to have the cases transferred to federal court for adjudication,

as § 157(b)(5) contemplates. At the same time, Petitioners have been preparing to adjudicate the

merits of the cases, even while the forum for those cases remains uncertain. The Committee’s

suggestion that Petitioners have unduly delayed the State Court Actions is just not true.

        The Committee next accuses Petitioners of “forum shopping” by filing a 157(b)(5) motion.

Mot. at 2. But it is Congress who chose a federal forum for personal injury cases related to a

Bankruptcy Case. Congress made the determination that it is most efficient for such personal

injury actions to be adjudicated where the bankruptcy case is pending. And Congress enacted

§ 157(b)(5) as a means of consolidating the personal injury cases in the bankruptcy home court.

See In re Twin Lab’ys, 300 B.R. at 841 (“Congress, in enacting § 157(b)(5), singled out [personal
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injury] claims as the very ones it wanted transferred.”). The Committee may disagree with

Congress’ policy judgment and believe that personal injury plaintiffs should always be entitled to

a state forum. But Petitioners cannot be faulted for following Congress’ policy that personal injury

cases overlapping with bankruptcy claims are best adjudicated in this District.

       Finally, the Committee asserts several times that Petitioners are “flouting the Bankruptcy

Court’s previous holdings by ‘slinging arguments’ that have been rejected.” Mot. at 2. This is

simply not true. As the Committee knows, the PI Decision concerned whether the State Court

Actions should move forward, not where those actions should be heard. The PI Decision says

nothing about whether the actions must proceed in state court. That question was not raised or at

issue, nor could it have been in light of this Court’s exclusive authority to decide it. And despite

the Committee’s rhetoric, it has not identified any specific way in which the PI decision (or any

other decision) purports to address the merits of Petitioners’ 157(b)(5) Motion.

       The bottom line is that Petitioners are simply following the well-worn path established by

Congress for addressing personal injury cases related to a bankruptcy case. It is unfortunate that

the Committee has chosen to attack Petitioners for this. But however the Committee choses to

characterize it, the fact remains that Petitioners have merely selected the forum that Congress

selected for state-law based personal injury tort actions that are related to a pending bankruptcy

case. That is not an argument against a federal forum; it is an argument for it. See In re Twin

Lab’ys, Inc., 300 B.R. at 840–41.

                                         CONCLUSION

       For the reasons above, the Court should deny the Committee’s motion for reconsideration

and set a briefing schedule for resolution of Petitioners’ 157(b)(5) Motion.




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Dated: August 31, 2023                   Respectfully submitted,

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